
Plaintiff appeals from an order denying his motion, except in part, to strike out paragraphs of the answer under rules 103 and 104 of the Rules of Civil Practice, and denying his motion to strike out the four affirmative defenses contained in the answer as insufficient in law. Plaintiff also appeals from an order granting defendant’s motion, except in part, to examine plaintiff before trial. Both orders are modified on the law and the facts as herein directed, and, as so modified, are affirmed, with one bill of $10 costs and disbursements to appellant. Order denying application under rules 103 and 104 of the Rules of Civil Practice, modified by further granting plaintiff’s application to the extent that paragraphs “ Sixth,” “ Seventh,” “ Eighth ” and “ Eleventh ” of the answer are struck out in their entirety; and those portions of paragraphs “ Fifth,” “ Ninth ” and “ Twelfth,” having to do with corporations other than Roseth Corporation, are struck out. Defendant is directed to serve, within ten days from the entry of the order to be entered hereon, an amended pleading omitting the objectionable matter. The matters ordered to be struck out are irrelevant and unnecessary in this plea of justification as to matters contained in the alleged libelous letter addressed only to the Roseth Corporation. For the purpose of determining the appeal from the order granting the examination before trial, the answer is deemed amended in accordance with the foregoing direction. Order modified by striking out items “ 2,” “ 3,” “ 4,” “ 7a,” “ 7b ” and “ 8 ”; and striking from items “ 1,” “ 5,” “ 6 ” and “ 9 ” all matters pertaining to corporations other than Roseth Corporation; and from item “6” all matters as to depriving defendant of his salaries and offices. The items struck out are not material or necessary in view of the allegations of the answer, as deemed amended. The date of the examination will be fixed in the. order to be entered hereon. Settle order on notice. Lewis, P. J., Carswell, Johnston, Adel and Aldrich, JJ., concur.
